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      A. The information sought by the Subpoena is relevant and proportional to the
         claims and defenses raised.

          First, contrary to AMS’ claim, the information sought in the Subpoena is relevant and

   proportional to the claims and defenses. This information: (a) directly relates to NuVasive’s

   claims (including the claim that Greg Soufleris (“Soufleris”) is unfairly competing with

   NuVasive); (b) NuVasive cannot seek the information from another source; and (c) the

   benefit of the information outweighs the burden and expense in producing the information.

          The Rule 26 standard applies to information sought through a Rule 45 subpoena.

   Under this standard, a party “may obtain discovery regarding any nonprivileged matter that is

   relevant to any party’s claim or defense and proportional to the needs of the case.” Fed. R.

   Civ. P. 26(b)(1). “Relevance is construed broadly to encompass any matter that bears on, or

   that reasonably could lead to other matters that could bear on, any issue that is or may be in

   the case.” SEC v. Rex Venture Grp., LLC, No. 5:13-MC-004-WTH-PRL, 2013 WL 1278088,

   at *3 (M.D. Fla. Mar. 28, 2013) (internal quotation marks omitted). And a discovery request

   is “relevant if there is any possibility that the information sought may be relevant to the

   subject matter of the action.” Id.

          Courts examining whether discovery requests are proportional consider:

          (a) “the importance of the issues at stake in the action,” (b) “the amount in
          controversy,” (c) “the parties’ relative access to relevant information,” (d) “the
          parties’ resources,” (e) “the importance of the discovery in resolving the
          issues,” and (f) “whether the burden or expense of the proposed discovery
          outweighs its likely benefit.”

   Herman v. Seaworld Parks & Entm’t, Inc., No. 8:14-cv-3028-T-35JSS, 2016 WL 3746421,

   at *2 (M.D. Fla. July 13, 2016) (quoting Fed. R. Civ. P. 26(b)(1)). Materials “need not be

   admissible in evidence to be discoverable.” Id. (citations omitted).



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          Here, NuVasive’s complaint (and now its amended complaint) includes allegations

   that: (a) Soufleris and former Absolute Medical sales representatives are unfairly competing

   with NuVasive; (b) this unfair competition involves NuVasive’s former Absolute Medical

   surgeon-customers; and (c) Soufleris has abused the corporate form and transferred Absolute

   Medical’s business and assets to other businesses that he controls, including AMS. (See, e.g.,

   Compl., Doc. 1).    By way of example, Soufleris and Hawley consistently and falsely

   claimed—under oath and penalty of perjury—that some of Absolute Medical’s sales

   representatives, including Hawley and Miller, refused to sign non-compete agreements and

   that such agreements do not exist. (Pre-Hearing Memo, Doc. 60). AMS—which Soufleris

   also controls and appears to be one of the entities which he transferred assets to and uses to

   violate the agreement with NuVasive—admits it has contracts with sales representatives but

   refuses to provide them. Clearly, the contracts between the sales representatives and the

   company that Soufleris utilizes to unfairly compete with NuVasive “bear[] on, or []

   reasonably could lead to other matters that could bear on, any issue that is or may be in the

   case.” Rex Venture Grp., LLC, 2013 WL 1278088, at *3.

          Further, the requests are proportional as they go to whether Absolute Medical

   breached its contract with NuVasive and the extent that NuVasive was, and continues to be,

   damaged by the breach. The amount in dispute is considerable as NuVasive estimates

   Absolute Medical would average around $1,500,000 per year in commissions, which is only

   a portion of what NuVasive would earn from the sales and Absolute Medical breached the

   agreement in the first year of a five-year contract. (Compl., Doc. 1 at ¶ 18). Additionally,

   NuVasive is unable to get the information from any other source. It should not be difficult or




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   costly for AMS to produce the requested documents as they are not voluminous and,

   presumably, the attorneys reviewed them prior to objecting to the Subpoena. Thus, the

   burden on AMS is slight compared to the value of the information to NuVasive.

       B. AMS does not and cannot show that the relevant information is a trade secret.

            Contrary to AMS’ assertion, the Subpoena does not seek irrelevant information in

   order to obtain its trade secrets.            First, as stated above, the Subpoena seeks relevant

   information. Second, courts do not automatically deny motions to compel disclosure simply

   because a non-party asserts that the information sought is a trade secret. 2 NetJets Aviation,

   Inc. v. Peter Sleiman Dev. Grp., LLC, No. 3:10-cv-483-J-32MCR, 2011 WL 6780879, at *4

   (M.D. Fla. Dec. 27, 2011) (finding that simply asserting disclosure would give a competitor a

   competitive advantage is not enough to deny a motion to compel). First, the non-party must

   show that the requested discovery is a trade secret. 3 Cytodyne Techs., Inc. v. Biogenic

   Techs., Inc., 216 F.R.D. 533, 535–36 (M.D. Fla. 2003).                          Next, the non-party must

   demonstrate that the disclosure might be harmful. Id. at 536. Then, the burden shifts to the

   party seeking the information to show that the information is relevant. Id.

            Here, NuVasive does not seek information that requires AMS to disclose trade secrets

   and AMS does not suggest that it does.                  NuVasive cannot derive any value from the

   contracts—contracts assigned to AMS, and records from transactions between AMS and

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     If AMS believed that the information is a trade secret, it could have sought a protective order or requested that
   the parties enter into a confidentiality agreement, which NuVasive was and still is amenable to doing. It did
   neither.
   3
     Under Florida law, a trade secret means “information, including a formula, pattern, compilation, program,
   device, method, technique, or process that: (a) derives independent economic value, actual or potential, from not
   being generally known to, and not being readily ascertainable by proper means by, other persons who can
   obtain economic value from its disclosure or use; and (b) is the subject of efforts that are reasonable under the
   circumstances to maintain its secrecy.” F la. Stat. § 688.002.




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   other entities and individuals beyond proving its claims against Defendants. The same can

   be said for documentation regarding AMS’ initial capitalization. Additionally, to the extent

   that NuVasive seeks communications between AMS and doctors who previously used

   NuVasive products and operate in the territory previously covered by Defendants, NuVasive

   already knows of their names, which is the only information that could be considered

   confidential by AMS. See Fadalla v. Life Auto. Prods., 258 F.R.D. 501, 505 (M.D. Fla.

   2007). Further, AMS does not suggest the charge sheets submitted to Alphatec and records

   of payment are subject to reasonable efforts to maintain their secrecy and are valuable

   information. Finally, AMS does not show how commission statements that AMS provided to

   its sales representatives constitute trade secrets and, in fact, they are not.

           Even if AMS shows that the information sought constitutes a trade secret, AMS does

   not demonstrate that disclosure would be harmful. In fact, the only way that the information

   would assist NuVasive is by providing a “full and accurate understanding of the true facts”

   against Defendants—which is one of the purposes of discovery. Hunter's Ridge Golf Co. v.

   Ga.-Pacific Corp., 233 F.R.D. 678, 680 (M.D. Fla. 2006). NuVasive more than meets its

   burden of showing that the information sought from AMS, which Soufleris is using to

   unfairly compete with NuVasive, is relevant.

                                         II.   CONCLUSION

         NuVasive is entitled to a complete response to its Subpoena.               The sought-after

   information is proportional to this case and does not constitute a trade secret. Thus, the Court

   should compel AMS to fully respond to the Subpoena.




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   Dated: June 14, 2018
                                      Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

           I hereby certify that on June 14, 2018, a copy of the foregoing was filed electronically.
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   parties indicated on the electronic filing receipt. All other parties will be served by regular
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